                                                                           Motion GRANTED,
                                                                           conditioned upon the timely
                                                                           filing of a waiver of speedy
                        UNITED STATES DISTRICT COURT                       trial by co-defendant.
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                  )
                                          )
                                          )
       v.                                 )        No. 3:13-00139
                                          )        JUDGE TRAUGER
                                          )
FALLON SABLAN                             )

                MOTION AND INCORPORATED MEMORANDUM
                          TO CONTINUE TRIAL



       NOW comes the defendant, Fallon Sablan (“Ms. Sablan”), through counsel, and

respectfully requests that this Honorable Court enter an order granting a continuance of

her trial date, presently set for February 18, 2014. Furthermore, counsel moves, pursuant

to the Federal Rules of Criminal Procedure Rule 12(c), that this Honorable Court grant an

extension of the pre-trial motions filing deadline. In support of said request, counsel

submits the following:

       Ms. Sablan is charged in a multi-defendant indictment for Hobbs Act Robbery in

violation of 18 U.S.C. 1951, two counts of Use, Carry, Brandishing, and Discharge of a

Firearm During A Crime of Violence or Drug Trafficking Crime in violation of 18 U.S.C.

924(c)(1)(A), and Conspiracy To Possess With Intent To Distribute A Quantity Of Marijuana

In A School Zone in violation of 18 U.S.C 21:846 and 860. Ms. Sablan requests a continuance

for two primary reasons. First, Counsel has provided the Government with the results of




  Case 3:13-cr-00139      Document 79         Filed 02/13/14   Page 1 of 1 PageID #: 234
